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Case 1

Dixie Elixirs & Edibles

6701 E. Stapelton Dr N
Denver, Colorado 80216
303.945.2048

Test Date

oonennannsetion seer

Sample Type | os Tincture

The below-test Is reported in percentage by weight , milligrams per gram,or milligrams perfinal consumable wieght THO-Adeé not Gecarboxylated (not active). and shall net be reported:in the total’active
cannabinoids. THG-A js:converted to active THC inthe calculated active column using the formula (THC-A x 877 = THC). Total assayable cannabinoids simply represents the sum of the cannabinoids detected jn
the sample. If THC-A is not detected in. the sample, the calculated active-and total active will remain the same, Edible results may be lower than expected: this is due to circumstances gutside of CennLbebs control,

Such as. cannabinoid matetial adhering to the manufactirets’ packaging. This report and all information herein shall not be reproduced, except in its.entirely, without the expressed consent of CannLabs. This report
is. for informational purposes only and should not be used: to di gnose, treat or prevent any medical related symptoms.

saan | | ia152010 Dixie X Hemp CBD 500mg Dew Drop TestID DEDIO A222

Certificate of Analysis

Maximum hun ourt bor
Legal Limit es on
THC OQUC

OSORIO SHA BAIS spa hse AD seh

0.3% 516

78mg

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CiannLabs
TESTED
: TestDate ee CBDO8O3MIXE2
10/16/2012 / 12/15/2012 Sarnple Tune sl C on su umable

ight ,znillisenms pee glamor iailligrams pet ght, THE (not active) n the tot! * h usta {ICA
THE Tent is si ie'suin Ral Sairipheclt HCA i 4 the calculated active andl buts) ative wilerialf the i ap de utside of Cantahs control sihsas
co ponabingld : tire ing! This report i sini shialkit & ahi rely. wathiour sent af Cabikabs. this eapi is ff tforo atianat puepasesonlyand shou nt he used a diiprose, trator prevent aiy medical related
atin: Due tetany fen toaults aay wary. Result ihe nangples

h int FA,

_ Chemical Report

Cannabinoid Assay

| Assayable Cannabinoids | active Cdanabineiss

CBD-A | <01 % Max chp

Q 0.76 « Total Active :
: eo So Gannabinolds —
: = 1 Max ae a 7.60 E 516.78 «
i THC-A 0.00 ot tL
|’ THC 0047, c. 32.03 me

| THC-V | soNty

Ratio and Chart of Cannabinoids

CBDO803MIXE2

Cannabinoid Assay
@CBD @THC | CBN

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TR

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10/16/2012

12/15/2012 Sample Type

The helow-teatis reported percentage by weight ; milligrams per gram;or wieght, SHC-#ig not deciry inot active} and shall fai be reported in the total active THe.
j, Total assayable t: is sit ‘phe ate i “Ais nos detected inthe saniple, the calculated nd tatstactive will vetiain'the same. Cdibla desuls may be
gainabinali inatesal ddticring to thw nianufactiféts' packagicig: This repiaytand all 85 Sha aacepl int its entirely, withion the ex Ps la is teport is fos ‘vfeirmational aul
eto many Fsctars outside of Cunnitaks oonteal, results may v
Ki rH aol

Edible Report

Cannabinoid Assay Consumable Details

Assayable Cannabinoids Active: Candabincide Sample Size = 1
: Max CBD = :
<0.01 %

0.69 ie Total Active ' .
| oMaxTHe. Gannabinolds
<0.01% | | 9.00 |, CBN

Total Dosage of
Cannabinoids

Approx, Net Wt,

Serving Per Package 1.00

38.4 ¢

rao |

CBD1011R&D-500mg

_Cannabinoid Assay
| CBD B THE CBN

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